

Matter of Attorneys In Violation of Judiciary Law § 468-a (Arady) (2019 NY Slip Op 03247)





Matter of Attorneys In Violation of Judiciary Law § 468-a (Arady)


2019 NY Slip Op 03247


Decided on April 26, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 26, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., LINDLEY, CURRAN, AND WINSLOW, JJ. (Filed Apr. 9, 2019.)


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[*1]MATTER OF ATTORNEYS IN VIOLATION OF JUDICIARY LAW § 468-a AND 22 NYCRR 118.1. ATTORNEY GRIEVANCE COMMITTEES FOR THE FOURTH JUDICIAL DEPARTMENT, PETITIONER. SUZANNE EVA ARADY, RESPONDENT.



MEMORANDUM AND ORDER
Order entered terminating suspension and granting application for reinstatement to the practice of law.








